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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

KOCH MINERALS SÀRL
Chemin Des Primeveres 45
Fribourg, 1700
Switzerland

KOCH NITROGEN INTERNATIONAL SÀRL               Civil Action No: 17-cv-02559-KBJ
Chemin de Primeveres 45
Case Postale 592
Fribourg, 1701
Switzerland,

             Plaintiffs,

                v.

BOLIVARIAN REPUBLIC OF VENEZUELA;
Ministerio del Poder Popular para Relaciones
Exteriores
Oficina de Relaciones Consulares
Avenida Urdaneta
Esquina Carmelitas a Puente Llaguno
Piso 1 del Edificio Anexo a la Torre MRE
Caracas, 1010
República Bolivariana de Venezuela,

             Defendant.




PLAINTIFFS KOCH MINERALS SÀRL AND KOCH NITROGEN INTERNATIONAL
          SÀRL’S MOTION FOR ENTRY OF DEFAULT JUDMENT
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          Pursuant to 28 U.S.C. § 1608 and Federal Rule of Civil Procedure 55(b), Plaintiffs and

Arbitration Award Creditors Koch Minerals Sàrl (“KOMSA”) and Koch Nitrogen International

Sàrl (“KNI”) (collectively “the Koch Plaintiffs” or “Plaintiffs”) move for entry of a default

judgment against the Bolivarian Republic of Venezuela (“Venezuela” or the “Defendant”). As

described further below,1 Venezuela was twice served with the summons and complaint in this

matter in accordance with the Hague Convention on the Service Abroad of Judicial and

Extrajudicial Documents in Civil or Commercial Matters (1965) (“Hague Service Convention”).

          Nearly fifteen months have now passed since the service was first effected on Venezuela

in January 2018. Venezuela has failed to serve a pleading responsive to the complaint within 60

days from service as required under 28 U.S.C. § 1608(d). Accordingly, the Court should

therefore enter a default judgment in favor of the Koch Plaintiffs and against Venezuela.

I.        BACKGROUND

          This is an action to recognize and enforce the pecuniary obligations of an arbitral award

in favor of the Koch Plaintiffs and against Venezuela (the “Award”) issued on October 30, 2017

by a three-member arbitral tribunal (“the Tribunal”) constituted pursuant to the Convention on

the Settlement of Investment Disputes between States and Nationals of Other States, Mar. 18,

1965, 17 U.S.T. 1270 (the “ICSID Convention” or the “Convention”). This action is brought

pursuant to 22 U.S.C. § 1650a and Article 54 of the ICSID Convention. Second Yanos Decl.,

Ex. 1.2


1
 In this brief, “First Yanos Decl.” refers to the Declaration of Alexander A. Yanos, dated May 9, 2019
(ECF # 21); and “Second Yanos Decl.” refers to the Declaration of Alexander A. Yanos, dated May 16,
2019, in support of the Koch Plaintiffs’ Motion for Entry of Default Judgment.
2
 On April 11, 2018, the Tribunal issued a decision correcting an error in calculation of the amount
awarded to KNI under the Award (“Decision on Rectification”). ECF #7, Ex. 2. By operation of Article
49(2) of the ICSID Convention, the Decision on Rectification is incorporated into the Award. See Second
Yanos Decl., Ex. 1.

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       A.      The ICSID Convention

       The ICSID Convention is a “multilateral treaty aimed at encouraging and facilitating

private foreign investment in developing countries.” Mobil Cerro Negro, Ltd. v. Bolivarian

Republic of Venezuela, 863 F.3d 96, 100 (2d Cir. 2017). The Convention provides a framework

for the resolution of investment disputes between a foreign state that is a member of the

Convention and a national of another country that is a member of the Convention. See Second

Yanos Decl., Ex. 1. To this end, the Convention created the International Centre for Settlement

of Investment Disputes (“ICSID”), which administers arbitral proceedings under the ICSID

Convention, including the arbitration at issue here. Id., Art. 1.

       ICSID, however, is “not empowered to enforce awards.” TECO Guatemala Holdings,

LLC v. Republic of Guatemala, No. 17-102-RDM, 2018 U.S. Dist. LEXIS 168518, *4 (D.D.C.

Sept. 30, 2018). Instead, the ICSID Convention obliges Contracting States to enforce ICSID

awards as if they were final judgments of their respective national courts. Article 54(1) of the

Convention accordingly provides that:

               Each Contracting State shall recognize an award rendered pursuant
               to this Convention as binding and enforce the pecuniary
               obligations imposed by that award within its territories as if it were
               a final judgment of a court in that state. A Contracting State with a
               federal constitution may enforce such an award in or through its
               federal courts and may provide that such courts shall treat the
               award as if it were a final judgment of the courts of a constituent
               state.

       The United States has been a party or “Contracting State” to the ICSID Convention since

1966. See 17 U.S.T. 1270. Congress has enacted legislation to implement the United States’

Article 54 obligation to enforce ICSID awards as if they were final judgments of a court in one

of the United States. Specifically, 22 U.S.C. § 1650a(a) provides:

               An award of an arbitral tribunal rendered pursuant to chapter IV of
               the Convention shall create a right arising under a treaty of the
                                                  2
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               United States. The pecuniary obligations imposed by such an
               award shall be enforced and shall be given the same full faith and
               credit as if the award were a final judgment of a court of general
               jurisdiction of one of the several States. (Emphasis added).

       Unlike other international arbitration awards, awards rendered under the ICSID

Convention are not subject to review under the Federal Arbitration Act, and do not require

confirmation in the manner prescribed by the Federal Arbitration Act. This is established clearly

at 28 U.S.C. § 1650a, which states “[t]he Federal Arbitration Act (9 U.S.C. 1 et seq.) shall not

apply to enforcement of awards rendered pursuant to the [ICSID] Convention.” See also Mobil

Cerro Negro, Ltd., 863 F.3d at 102 (“Member states’ courts are . . . not permitted to examine an

ICSID award’s merits, its compliance with international law, or the ICSID tribunal’s jurisdiction

to render the award; under the Convention’s terms, they may do no more than examine the

judgment’s authenticity and enforce the obligations imposed by the award.”); accord TECO

Guatemala Holdings, LLC, No. 17-102-RDM, 2018 U.S. Dist. LEXIS 168518, at **4-5 (“A

member state is ‘not permitted to examine . . . the ICSID tribunal’s jurisdiction to render the

award;’ all it may do is ‘examine the judgment’s authenticity and enforce the obligations

imposed by the award.’”) (citing Mobil Cerro Negro, Ltd., 863 F.3d at 102)).

       Instead, and by design, review of ICSID awards is encapsulated within the framework of

the ICSID Convention itself. ICSID Awards may be annulled or set aside only by specially-

constituted ad hoc committees appointed by the Chairman of the Administrative Council of

ICSID (ex officio the President of the World Bank) on specific grounds enumerated in the ICSID

Convention. See Second Yanos Decl., Ex. 1, Arts. 52-53.

       B.      Venezuela’s Consent To ICSID Arbitration

       The ICSID Convention entered into force for Venezuela on June 1, 1995. Second Yanos

Decl., Ex. 2, at 5. Venezuela formally withdrew from the ICSID Convention on January 25,


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2012, with effect from July 25, 2012. Venezuela’s withdrawal from the ICSID Convention has

no bearing on this case, however. Under Article 72 of the ICSID Convention, a State’s notice of

withdrawal “shall not affect the rights or obligations under th[e] Convention of that State . . .

arising out of consent to the jurisdiction of [ICSID] given . . . before such notice was received.”

Id., Ex. 1. See, e.g., Tidewater Inv. SRL v. Bolivarian Republic of Venezuela, No. 17-1457

(TJK), 2018 U.S. Dist. LEXIS 211469, n. 3 (D.D.C. 2018) (“Although Venezuela denounced the

Convention on January 24, 2012, as permitted by Article 71, that denunciation did not affect the

rights or obligations under the Convention of Venezuela arising out of consent to the jurisdiction

of the Centre given by it before such notice was received [under] ICSID Convention Art.72”)

(internal citations omitted)

        Here, pursuant to Article 9 of the Agreement between the Swiss Confederation and the

Bolivarian Republic of Venezuela on the Reciprocal Promotion and Protection of Investments

dated November 18, 1993, which entered into force on November 30, 1994 (“the Treaty”),

Switzerland and Venezuela consented to submit disputes with one another’s investors arising

under the Treaty to ICSID.3 The Koch Plaintiffs accepted Venezuela’s offer to arbitrate disputes

arising under the Treaty through a notice of dispute transmitted to Venezuela on November 9,

2010. ECF # 7, Ex. 1, ¶ 2.9. Therefore, both parties consented to arbitrate this dispute before

Venezuela’s denunciation of the ICSID Convention.

        C.      The Koch Plaintiffs Prevailed In ICSID Arbitration Against Venezuela

        KOMSA owned 25% of the equity of FertiNitro, a venture operating two fertilizer plants

in José, Venezuela. ECF # 7, Ex. 1, ¶ 5.1. KNI had a long-term offtake agreement with




3
 https://investmentpolicyhubold.unctad.org/IIA/country/203/treaty/3006 (last accessed on April 16,
2019).

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FertiNitro to purchase, at a discount, both ammonia and urea. Id., ¶¶ 2.15, 5.82. On October 10,

2010, Venezuela’s then-President, Hugo Chavez, executed an expropriation decree during his

weekly television broadcast taking control and possession of FertiNitro. Id., ¶ 2.32. As executed

the following day, the decree provided for the nationalization and seizure of FertiNitro and all of

its assets, which extended to seizing full and effective control over FertiNitro’s future production

and abrogating the offtake agreement with KNI. Id., ¶¶ 5.4, 5.59. Venezuela failed to

compensate either KOMSA or KNI for the expropriation of their investments. As Swiss

nationals, the Plaintiffs were entitled to protection under the Treaty. Id., ¶¶ 2.36 – 2.39.

       Accordingly, on June 28, 2011, the Koch Plaintiffs filed a Request for Arbitration against

Venezuela under the ICSID Convention. See id., ¶ 5.73. The Koch Plaintiffs’ request was

registered as ICSID Case Number ARB/11/19 on July 19, 2011. Consistent with the ICSID

Convention and Arbitration Rules, the arbitration took place before a three-member Tribunal of

three eminent international lawyers: Marc Lalonde PC OC QC, a former Attorney-General of

Canada, appointed by the Koch Plaintiffs; Florentino Feliciano, a former Associate Justice of the

Philippine Supreme Court, appointed by Venezuela; and V.V. Veeder QC, a citizen of the United

Kingdom and noted international arbitrator, jointly selected by the parties as President of the

Tribunal. See id., ¶¶ 1.14-1.32. Venezuela subsequently appointed Professor Zachary Douglas

QC, a citizen of Australia, as its arbitrator after the death of Justice Feliciano in December of

2015. See id., ¶ 1.84.

       On October 30, 2017, the Tribunal issued the Award in the Koch Plaintiffs’ favor. ECF #

7, Ex. 1. In the Award, the Tribunal unanimously found that Venezuela unlawfully expropriated

KOMSA’s interest in FertiNitro, and (by a majority) found that Venezuela unlawfully

expropriated KNI’s interest in the offtake agreement. See id., ¶¶ 12.3-12.4.



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       The Tribunal ordered Venezuela to pay compensation as follows:

       (i)     US$ 140.25 million as the principal amount of compensation to KOMSA;

       (ii)    US$ 184.8 million as the principal amount of compensation to KNI;

       (iii)   pre-award interest to the Koch Plaintiffs from October 11, 2010 (the date of

               expropriation) to October 30, 2017 (the date of the Award) calculated at the US$

               6-month Libor rate plus 2%, compounded every six months on the sums awarded;

       (iv)    legal costs in the amount of US$ 17,436,085.10 and arbitration costs in the

               amount of US$ 628,836.435; and

       (v)     post-award interest on all amounts awarded, including the total pre-award interest

               due on the principal sums of US$ 140,250,000 and US$ 184,800,000 from

               October 30, 2017 until payment, calculated at the US$ 6-month Libor rate plus

               2%, compounded every six months.

       See id., ¶¶ 12.3-12.8.

       Under the Award, the amount of pre-award interest awarded to KOMSA amounts to US$

28,419,011.14, for a total of US$ 168,669,011.14, and the amount of pre-award interest awarded

to KNI amounts to US$ 33,778,603.62, for a total of US$ 200,478,603.62.

       On December 18, 2017, the Acting Secretary-General of ICSID registered Venezuela’s

request for rectification of the Award pursuant to Article 49(2) of the Convention. Article 49(2)

provides in relevant part that:

               The Tribunal upon the request of a party made within 45 days
               after the date on which the award was rendered . . . shall rectify
               any clerical, arithmetical or similar error in the award.

       Venezuela argued there was an error in how the Tribunal calculated the amount of

compensation awarded to KNI. According to Venezuela, this error meant that the amount

awarded to KNI should be reduced US$ 18.1 million (before interest).
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       On April 11, 2018, the Tribunal issued a Decision on Rectification reducing the principle

amount awarded to KNI as compensation by US$18,100,000 (from US$184,800,000 to

US$166,700,000). ECF # 7, Ex. 2, ¶ 74. Pursuant to Article 49(2) of the ICSID Convention, the

Decision on Rectification is incorporated into the Award. Together, the October 30, 2017 Award

and the Tribunal’s April 11, 2018 Decision on Rectification, constitute the full and final Award

in this case. As of May 16, 2019, the total amount owed by Venezuela to the Koch Plaintiffs

under the Award is US$ 413,520,095.17. See Second Yanos Decl., Ex. 4.

       On August 17, 2018, Venezuela applied for annulment of the Award pursuant to Article

52(5) of the ICSID Convention. Under Rule 14(3)(e) of ICSID’s Administrative and Financial

Regulations, “the applicant [for annulment] shall be solely responsible for making the advance

payments [to ICSID] . . . to cover expenses following the constitution of the [ad hoc]

Committee.” Since first seeking annulment of the Award ten months ago, Venezuela has failed

to make a single payment to cover ICSID’s expenses and delaying the proceedings of the ad hoc

committee.

       Venezuela’s annulment application nevertheless automatically triggered a provisional

stay of enforcement of the Award. An ad hoc committee appointed by the Secretary-General of

ICSID to consider Venezuela’s challenge to the Award pursuant to Article 52 of the ICSID

Convention weighed the parties’ submissions as to whether it should lift or continue that stay.

On April 1, 2019, the ad hoc committee lifted the stay of enforcement of the Award. See Second

Yanos Decl., Ex. 3.

       The Award is now binding on Venezuela. Pursuant to Article 53 of the ICSID

Convention, Venezuela is obligated to “abide by and comply with the terms of the award except

to the extent that enforcement shall have been stayed” by an ad hoc committee constituted under



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Article 52 of the ICSID Convention. Nevertheless, Venezuela has still not paid any of the

amounts it owes under the Award.

       D.      The Koch Plaintiffs Bring This Proceeding To Enforce The Award Under 22
               U.S.C. § 1650a And Article 54 Of The ICSID Convention

       On November 28, 2017, the Koch Plaintiffs filed this action to enforce the pecuniary

obligations of the Award. See ECF # 1. The Complaint set forth a single count under 22 U.S.C.

§ 1650a. Id. ¶¶ 25-30.

       The Koch Plaintiffs thereafter served Venezuela with the Complaint pursuant to the

Hague Service Convention, to which Venezuela is a party. Specifically, on January 11, 2018, the

Koch Plaintiffs couriered (i) a duly-executed and notarized USM-94 “Request for Service

Abroad of Judicial or Extrajudicial Documents” in duplicate English and Spanish versions,

together with duplicate English and Spanish copies of: (ii) the original Complaint in this action,

(iii) two supporting exhibits, (iv) summons, (v) civil cover sheet, and (vi) notice of right to

consent to trial before a magistrate judge to the Central Authority designated by Venezuela for

international service of process pursuant to the Hague Service Convention. First Yanos, Decl.,

Ex. 1. Venezuela’s “Central Authority” is the Office of Consular Relations of Venezuela’s

Ministry of the Popular Power for External Relations (Ministerio del Poder Popular para

Relaciones Exteriores) (the “Foreign Ministry”).4 Delivery to the Foreign Ministry was made on

January 25, 2018 and signed for on that date by K. Ordones, an employee of the Foreign

Ministry. First Yanos Decl., Ex. 2. Service on Venezuela was thus complete as of January 25,

2018 because the papers to be served arrived at their destination and Venezuela accepted service




4
 See Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or
Commercial Matters, opened for signature Nov. 15, 1965, 20 U.S.T. 361, 658 U.N.T.S. 163. See First
Yanos Decl., Ex. 3.

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voluntarily. See Hague Service Convention, Article 5 (“[T]he document may always be served

by delivery to an addressee who accepts it voluntarily.”).

        Nevertheless, after the arbitral tribunal issued the Decision on Rectification in

Venezuela’s favor and reducing the principal amount of the award to KNI by US$18,100,000

(from US$184,800,000 to US$166,700,000), the Koch Plaintiffs filed an Amended Complaint to

reflect the Tribunal’s downward revision of the compensation owed to KNI by Venezuela on

May 23, 2018 (ECF # 7). No new causes of action or defendants were added to the Amended

Complaint. Subsequently, acting out of an abundance of caution, the Koch Plaintiffs decided to

serve Venezuela through the Hague Service Convention for a second time.

        Accordingly, on June 1, 2018, counsel for the Koch Plaintiffs couriered a duly executed

and notarized USM-94 “Request for Service Abroad of Judicial or Extrajudicial Documents” in

duplicate English and Spanish versions, together with duplicate English and Spanish copies of

the Amended Complaint, three supporting exhibits, and a civil summons, to the Venezuelan

Foreign Ministry. First Yanos Decl., Ex. 4. Delivery was made on June 13, 2018, and

acknowledged in writing by a Foreign Ministry employee, Mr. Jose Vera. First Yanos Decl., Ex.

5. Service of the Koch Plaintiffs’ Amended Complaint under the Hague Service Convention was

once again complete upon receipt and acceptance by the Foreign Ministry. See Hague Service

Convention, Article 5 (“[T]he document may always be served by delivery to an addressee who

accepts it voluntarily.”).

II.     THE COURT SHOULD ENFORCE THE AWARD UNDER 22 U.S.C. § 1650a

        A.      This Court Has Jurisdiction To Enforce The Final Award

        This Court has subject matter jurisdiction pursuant to 22 U.S.C. § 1650a and 28 U.S.C.

§§ 1330(a) and 1605.



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        Venezuela does not enjoy sovereign immunity in this case. The Foreign Sovereign

Immunities Act (“FSIA”), 28 U.S.C. §§ 1602 et seq., provides, in relevant part, that “[a] foreign

state shall not be immune from the jurisdiction of courts of the United States . . . in any case:”

                brought . . . to confirm an award made pursuant to such an
                agreement to arbitrate, if . . . the agreement or award is or may be
                governed by a treaty or other international agreement in force for
                the United States calling for the recognition and enforcement of
                arbitral awards. Id., § 1605(a)(1).

                [or] . . .

                in which the foreign state has waived its immunity either explicitly
                or by implication, notwithstanding any withdrawal of the waiver
                which the foreign state may purport to effect except in accordance
                with the terms of the waiver, id., § 1605(a)(6);

        Here, both exceptions to sovereign immunity apply to an action to recognize and enforce

an ICSID arbitral award.

        First, the Award was issued pursuant to a Treaty by which Venezuela agreed to arbitrate

Treaty disputes with Swiss investors within the framework established by the ICSID Convention,

an international Treaty that specifically calls for the recognition and enforcement of arbitration

awards and which is in force for the United States. See Second Yanos Decl., Ex. 1, Art. 54;

Tidewater Inv. SRL, 2018 U.S. Dist. LEXIS 211469, *10 (“To our knowledge, every court to

consider whether awards issued pursuant to the ICSID Convention fall within the arbitral award

exception to the FISA has concluded that they do”) (quoting Blue Ridge Invs., LLC v. Republic

of Argentina, 735 F.3d 72, 85 (2d Cir. 2013)).5 Second, by consenting to arbitrate—in both the

Treaty and the Convention—Venezuela waived any immunity from sovereign immunity that it


5
  Tidewater Inv. SRL v. Bolivarian Republic of Venezuela, 2018 U.S. Dist. LEXIS 211469, n. 3 (D.D.C.
2018) (“Although Venezuela denounced the Convention on January 24, 2012, as permitted by Article 71,
that denunciation did not affect the rights or obligations under the Convention of Venezuela arising out of
consent to the jurisdiction of the Centre given by it before such notice was received [under] ICSID
Convention Art.72”) (internal citations omitted)

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might have otherwise enjoyed. See Chevron Corp. v. Ecuador, 795 F.3d 200, 203 (D.C. Cir.

2015) (Section 1605(a)(6) grants jurisdiction “to confirm an award made pursuant to an

arbitration agreement governed by an international treaty.”); Blue Ridge Invs., LLC, 735 F.3d at

85 (“To our knowledge, every court to consider whether awards issued pursuant to the ICSID

Convention fall within the arbitral award exception to the FSIA has concluded that they do.”);

Mobil Cerro Negro, Ltd., 863 F.3d at 104-05 (“The FSIA’s immunity provisions do not shield a

foreign sovereign from federal courts’ exercise of jurisdiction over a civil action to enforce an

ICSID award: the waiver and arbitration exceptions to immunity that are found in subsections

1605(a)(1) and (a)(6), respectively, apply, and allow such an action to proceed”); Cont’l Cas. Co.

v. Argentine Republic, 893 F.Supp.2d 747, 751 (E.D. Va. 2012) (noting that there is no doubt

that “ICSID arbitral awards fall within . . . immunity exception” under 28 U.S.C. §

1605(a)(6)(B)).

       For each of these independently sufficient reasons, Venezuela is not immune from

jurisdiction of this Court under the FSIA.

       B.      Venezuela Was Properly Served In Accordance With The FSIA And Failed
               To Respond Within 60 Days

       The Koch Plaintiffs properly served Venezuela with the Complaint in this case.

       Under 28 U.S.C. § 1608, a plaintiff must take specific steps to effect service on a foreign-

state defendant. As the D.C. Circuit explained in Barot v. Embassy of the Republic of Zimbabwe,

785 F.3d 26, 27 (D.C. Cir. 2015):

               The [FSIA] provides four methods of service in descending order
               of preference. First, “by delivery of a copy of the summons and
               complaint in accordance with any special arrangement for service
               between the plaintiff and the foreign state or political subdivision.”
               28 U.S.C. § 1608 (a)(1). Second, “by delivery of a copy of the
               summons and complaint in accordance with an applicable
               international convention on service of judicial documents.” Id. §
               1608(a)(2). Third, “by sending a copy of the summons and
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               complaint and a notice of suit, together with a translation of each
               into the official language of the foreign state, by any form of mail
               required a signed receipt, to be addressed and dispatched by the
               clerk of the court to the head of the ministry of foreign affairs of
               the foreign state concerned . . . .” Id. § 1608(a)(3). And fourth, if
               none of the first three methods works, a plaintiff can serve the
               appropriate documents through the Department of State.” Id. §
               1608(a)(4).

The D.C. Circuit has also explained that, when acting within this statutory framework, a plaintiff

“must attempt service by the first method (or determine that it is unavailable) before proceeding

to the second method, and so on.” Angellino v. Royal Family Al-Saud, 688 F.3d 771, 773 (D.C.

Cir. 2012). Though the plaintiff bears the burden of proving personal jurisdiction, “when the

plaintiff moves for default judgment against an absent defendant, only a prima facie showing is

required.” Tidewater Inv. SRL, No. 17-4157 (TJK), 2018 U.S. Dist. LEXIS 211469, *12 (citing

Mwani v. Bin Laden, 417 F.3d 1, 7 (D.C. Cir. 2005)).

       Here, service under 28 U.S.C § 1608(a)(1) was unavailable, because the Koch Plaintiffs

and Venezuela do not have any “special arrangement for service.” The Koch Plaintiffs thus

proceeded to serve Venezuela under 28 U.S.C. § 1608(a)(2) in accordance with the Hague

Service Convention.

       Specifically, service under the Hague Service Convention was effected on January 25,

2018 when a duly-executed and notarized USN-94 “Request for Service Abroad of Judicial or

Extrajudicial Documents” in duplicate English and Spanish versions, together with duplicate

English and Spanish copies of the original complaint in this action, two supporting exhibits,

summons, civil cover sheet, and notice of right to consent to trial before a magistrate judge,

couriered by the Koch Plaintiffs was delivered to the Venezuelan Foreign Ministry and signed




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for on that date by K. Ordones, an employee of the Foreign Ministry.6 First Yanos Decl., Exs. 1,

2.

        In these circumstances, delivery to and acceptance by the Venezuelan Foreign Ministry

completed service of the Complaint because Venezuela was itself the party to be served and no

further action by the Venezuelan Foreign Ministry was required to complete service. See First

Yanos Decl., Ex. 3. Importantly, effective service in this case did not depend on Venezuela’s

Central Authority’s subsequent delivery of the summons and complaint to a third-party located

in Venezuela, as it might if the defendant were a Venezuelan individual or corporation distinct

from the government of Venezuela itself. As a result, and as another federal district court has

explained, “[s]ervice was effectuated on Venezuela, through its Central Authority under the

Hague Convention . . . when it received the Summons, Complaint and transmittal documents.”

Devengoechea v. Bolivarian Republic of Venezuela, No. 12-CV-23743, 2014 U.S. Dist. LEXIS

188755, *3 (S.D. Fla. Apr. 24, 2014).

        It follows that there was correspondingly no need for the Foreign Ministry to issue a

certificate confirming that it had succeeded in serving process on itself. See Box v. Dallas




6
  After the arbitral tribunal issued a decision reducing the principal amount awarded to KNI as
compensation, the Koch Plaintiffs filed an amended complaint to update the total amount of
compensation sought from Venezuela. Because the Koch Plaintiffs’ amendment of their Complaint only
reflected the Tribunal’s downward revision of the amount of compensation awarded in response to
Venezuela’s application for rectification, and did not add new causes of action or defendants, the Koch
Plaintiffs were not required to serve the Amended Complaint on Venezuela. See Belkin v. Islamic
Republic of Iran, 667 F.Supp.2d 8, 27-28 (D.D.C. 2009) (Where the “amended complaint did not
substantially change the allegations in the original complaint and did not add new defendants . . . [and]
the causes of action are essentially the same, but . . . now available under another source of law,” the
court “will not require the plaintiff to serve the amended complaint”); Dammarell v. Islamic Republic of
Iran, 370 F.Supp.2d 218 (D.D.C. 2005) ( “. . . section 1608 is concerned with the service of the initial
complaint that commences a lawsuit, and not with ensuing pleadings or papers”). The Koch Plaintiffs
nevertheless served the Amended Complaint on Venezuela under the Hague Service Convention out of an
abundance of caution. The delivery was signed for by a Foreign Ministry employee, Mr. Jose Vera on
June 13, 2018. First Yanos Decl. Ex. 5.

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Mexican Consulate Generate, 487 Fed. Appx. 880, 886 (5th Cir. Aug. 21, 2012) (a certificate is

“more important” when service is on a third party in the foreign country, rather than on the

Central authority “itself”) (citing Burda Media, Inc. v. Viertel, 317 F.3d 292, 301 (2nd Cir. 2005)

(service under the Hague Service Convention is “properly perfected . . . notwithstanding the

failure of the Central Authority to return a Certificate” when the plaintiff attempts in good faith

to comply with the requirements of the Convention and the defendant has sufficient notice that

“no injustice would result”)). See also Devengochea, No. 12-CV-23743, 2014 U.S. Dist. LEXIS

188755, *3 (“Since Venezuela was properly served with process pursuant to the Hague

Convention and Venezuela had failed to respond or file any response pursuant to Article 15 of

the Hague Convention, a Clerk’s Default was entered in favor of Devengoecha and against

Venezuela”).7

        C.      Venezuela Failed To Answer Within 60 Days Of Service

        Venezuela is in default because it failed to submit a timely answer or other responsive

pleading to either of the Koch Plaintiffs’ complaints. Pursuant to the FSIA, 28 U.S.C. § 1608(d),

a foreign sovereign “shall serve an answer or other responsive pleading to the complaint within

sixty days after service has been made under this section.” Venezuela did not respond within 60

days of its acceptance of the Koch Plaintiffs’ Complaint (i.e., by March 26, 2018). To date,

Venezuela has made no response to the Complaint for nearly thirteen months.8



7
  This is a sensible rule. Otherwise, sovereign defendants could easily evade service under the Hague
Service Convention by the simple expedient of declining to certify that they had formally served
themselves. Such a result would be incompatible with the Hague Service Convention, Article 5 of which
provides that a “document may always be served by delivery to an addressee who accepts it voluntarily,”
as well as with the FSIA itself, which makes foreign sovereigns subject to service “in accordance with an
applicable international convention on service of judicial documents.” See 28 U.S.C. § 1608(a)(2).
8
  Counting from Venezuela’s acceptance of the Koch Plaintiffs’ strictly unnecessary Amended Complaint
on June 13, 2018, see First Yanos Decl. Ex. 5, Venezuela has been in default since August 13, 2018 at the
latest.

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        This Court may therefore enter a default judgment against Venezuela. See, e.g., Sealift

Bulkers, Inc. v. Republic of Armenia, 965 F. Supp. 81, 84 (D.D.C. 1997) (“Under the Foreign

Sovereign Immunities Act, if a claimant has properly served a foreign sovereign defendant and

the foreign sovereign has failed to respond within sixty days of service, the Court may enter

default judgment . . . .”).

        D.      The Koch Plaintiffs Have Established Their Claim For Relief

        Under the FSIA, “[a] judgment by default shall be entered by a court of the United States

. . . against a foreign state . . . unless the claimant establishes his claim or right to relief by

evidence satisfactory to the court.” 28 U.S.C. § 1608(3). The plaintiff “must present a legally

sufficient prima facie case, i.e., ‘a legally sufficient evidentiary basis for a reasonable jury to find

for plaintiff.’” Gates v. Syrian Arab Republic, 580 F.Supp. 2d 53, 63 (D.D.C. 2008). “Although

a court receives evidence from only the plaintiff when a defendant has defaulted, 28 U.S.C. §

1608(e) does not require a court to demand more or different evidence than it would ordinarily

receive in order to render a decision.” Id. In evaluating “the plaintiff’s proofs, a court may

‘accept as true the plaintiffs’ uncontroverted evidence.’” Id.; see also Beer v. Islamic Republic of

Iran, 574 F.Supp. 2d 1, 9 (D.D.C. 2008) (“This Court accepts the uncontested evidence and

sworn testimony submitted by plaintiffs as true in light of defendants’ failure to object or enter

an appearance to contest the matters in this case.”).

        The inquiry required by 28 U.S.C. § 1608(3) is straightforward in light of 22 U.S.C. §

1650a. As a matter of law, the “award of an arbitral tribunal rendered pursuant to [the ICSID

Convention] shall create a right arising under a treaty of the United States. The pecuniary

obligations imposed by such an award shall be enforced and shall be given the same full faith




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and credit as if the award were a final judgment of a court of general jurisdiction of one of the

several States.” 22 U.S.C. § 1650a (emphases added). In other words, the “language of § 1650a

appears to envision no role for this Court beyond ensuring its own jurisdiction over this action

and the validity of [petitioner’s] entitlement to any unpaid claims under the award.” Tidewater

Inv. SRL, 2018 U.S. Dist. LEXIS 211469, *16 (citing Duke Energy Int’l Peru Invs. No. 1 Ltd. v.

Republic of Peru, 904 F. Supp.2d 131, 132-33 (D.D.C. 2012) (noting that the court is “required

by statute to give [an ICSID award] full faith and credit and confirm it accordingly”)) (emphasis

added).

          Here, the Koch Plaintiffs have submitted to the Court true and correct copies of the

Award, which have been certified as authentic by ICSID and together constitute the Final Award.

ECF # 7, Exs. 1-2. Accordingly, the Koch Plaintiffs have established their entitlement to relief

under 22 U.S.C. § 1650a. The Court should therefore enforce the pecuniary obligations of the

Award and give the Award the same full faith and credit as a final judgment.

                                           CONCLUSION

          For the foregoing reasons, the Court should enter judgment for the Koch Plaintiffs against

Venezuela. A proposed form of judgment is submitted herewith.




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Dated: May 16, 2019                      Respectfully submitted,
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